 1   McGREGOR W. SCOTT
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 2   STANLEY A. BOONE
     Assistant U.S. Attorney
 3   4401 Federal Building
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 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                     )        No. 1:07-CR-0101-AWI
11                                                 )
                     Plaintiff,                    )        STIPULATION TO CONTINUE
12                                                 )        SENTENCING and ORDER
            v.                                     )
13                                                 )
     CHRISTOPHER TRAVIS,                           )
14                                                 )
                     Defendant.                    )
15                                                 )
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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel, Stanley A. Boone, Assistant United States Attorney for Plaintiff, and Daniel L.
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     Harralson, Attorney for Defendant, CHRISTOPHER TRAVIS, that the sentencing hearing ////
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     presently set for December 15, 2008, at 9:00 a.m. may be continued to January 20, 2009, at 9:00
21
     a.m.
22
                                                           Respectfully submitted,
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24                                                         McGREGOR W. SCOTT
                                                           United States Attorney
25
26   DATED: December 11, 2008                              By /s/ Stanley A. Boone
                                                           STANLEY A. BOONE
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 1                                                        Assistant U.S. Attorney
                                                          Attorney for Plaintiff
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 3
     DATED: December 11, 2008                             By /s/ Daniel L. Harralson
 4                                                        DANIEL L. HARRALSON
                                                          Attorney for Defendant
 5                                                        CHRISTOPHER TRAVIS
 6
 7                                                ORDER
 8          IT IS HEREBY ORDERED, that the sentencing hearing currently scheduled for December
 9   15, 2008, is continued to January 20, 2009, at 9:00 a.m.
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11   IT IS SO ORDERED.
12   Dated:     December 11, 2008                     /s/ Anthony W. Ishii
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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